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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                                 ) MDL 2804
 OPIATE LITIGATION                                            )
                                                              ) Case No. 1:17-md-2804
                                                              )
 THIS DOCUMENT RELATES TO:                                    ) Judge Dan Aaron Polster
                                                              )
 ALL THIRD PARTY PAYOR ACTIONS                                )



     PLAINTIFFS’ SUBMISSION IN SUPPORT OF PROPOSED AWARD AND
 ALLOCATION OF FEES AND COSTS IN THIRD PARTY PAYORS/ DISTRIBUTORS
                            SETTLEMENT

            Although Co-Lead Settlement Class Counsel do not believe the United Healthcare Motion

for Leave to File a Reply Memorandum [Doc. # 5853 et seq.], filed at day’s end the Friday before

a Monday hearing, is timely or proper, nor should any of the relief it requests be granted, we

respectfully file this submission to respond and address the fees-related issues raised, and to

provide the Court with details of the fee allocation proposal pursuant to Rule 23(e)(2)(C)(3)(iii)

and 23(e)(3).

            As set forth in earlier filings in support of the proposed $300 million TPP/Distributors class

settlement, Co-Lead Settlement Class Counsel respectfully request an award of attorneys’ fees

under Rule 23(h) of 20% of the $300 million settlement: $60 million. As described in those filings,

that requested fee will be reduced by payment of this Court’s 7.5% common benefit assessment

($22.5 million) into the Common Benefit Fund, for allocation by the Fee Panel. The net fee of

$37.5 million will be allocated among (1) Counsel representing and working for the benefit of the

class and/or the litigating TPP Plaintiffs (including bellwethers); and (2) Counsel representing

individual class member TPPs, with any disputes resolved by internal appeal to the Special Master.


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We respectfully submit this clarification of, and additional detail on, the mathematics,

methodology, and equitable purpose of the proposed allocation described below in support of its

Court approval.

I.          THE REQUESTED AWARD IS FAIR, REASONABLE, AND PROPOTIONAL.

            As Judge Pearson of this Court recently noted in her approval of the class settlement in In

re East Palestine Train Derailment, Case No. 4:23-cv-0242, 2024 WL 4370003 (N.D. Ohio Sept.

27, 2024), courts in the Sixth Circuit may use the percentage of recovery method of awarding class

fees to incentivize counsel to take on challenging cases like this one, and award a reasonable

percentage fee by taking into account the nature, quality, and extent of the work done; the results

obtained; whether the services were undertaken on a contingent basis; the particular circumstances

and difficulties of the case; “society’s stake in rewarding attorneys who produce such benefits in

order to maintain an incentive to others”; and by comparing how the requested fee lines up with

awards in other cases. Id. at ** 5, 6-9, citing cases, including the Sixth Circuit’s “Ramey” factors;

(see Ramey v. Cincinnati Enquirer, 508 F. 2d 1188, 1194-97 (6th Cir. 1974)), and noting the court’s

“wide discretion in assessing their weight and applicability.” Id. at *5, citing Granada Invests.

Inc. v. DWG Corp., 962 F. 3d 1203, 1205-06 (6th Cir. 1992).

            In the East Palestine settlement, which essentially resolved the entire litigation 18 months

after the derailment itself, Judge Pearson awarded class counsel the requested 27% fee of a $600

million settlement, noting a range of percentage awards, in the Sixth Circuit and elsewhere, of 20%

to 50% of the fund. Here, the fee application is at the low end of this range, to compensate counsel

(class counsel and others, as described below) who have achieved 100% settlement participation

by Plaintiffs in all 114 of the pending TPP MDL cases against one of three major Defendant

groups, in litigation that has been ongoing in this MDL for seven years. We respectfully submit

that 20% of the $300 million settlement fund is a fair and reasonable percentage award, based on
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the Court’s intimate, indeed unique, familiarity with the challenges and complexities of Opioids

litigation in general, and the TPP claims in particular.

II.         ALLOCATION OF THE REQUESTED FEE

            Out of the $60 million fee award, 7.5% of the total settlement of $300 million, or $22.5

million, will go to the common benefit fund, pursuant to this Court’s earlier common benefit

Orders, for allocation by the Fee Panel. To be clear, while $22.5 million is calculated as 7.5% of

the total settlement amount, that $22.5 million does not come off the top of the $300 million.

Pursuant to this Court’s earlier common benefit Orders, it is deducted from the attorneys’ fee

portion of the settlement.

            We respectfully request authorization, in line with common practice, for the Co-Lead

Settlement Class Counsel to allocate the remaining amount ($37.5 million) among the firms

representing and litigating on behalf of the TPPs, whose efforts brought about this settlement, with

any appeals to such allocation going to Special Master Cohen, with further detail as to the

methodology we propose with respect to individual TPP counsel set forth below. As noted in East

Palestine and other cases in the Sixth Circuit and elsewhere, see Bowling v. Pfizer, 102 F.3d 777,

781 (6th Cir 1996); In re Warfarin Sodium Antitrust Litig., 391 F.3d 515, 533 n.15 (3d Cir. 2004)),

it is accepted practice to authorize co-lead class counsel to allocate fees, because such counsel

“who are most familiar with the work done by each firm and each firm’s overall contribution to

the litigation are best suited to a portion these fees among the firms involved.” East Palestine,

2024 WL 437003 at *13 ( citing cases). As Judge Zouhary of this Court ordered in MDL 2196, in

In re Polyurethane Foam Antitrust Litig., 2015 WL 1639269 at *8, in connection with a 30%

award from an approximately $148 million settlement, “This Court grants Co-Lead Counsel

authority to distribute the fees in a manner that, in the judgment of Co-Lead Counsel, fairly

compensates each firm for its contribution to the prosecution of Plaintiff’s claims”.
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            While the Co-Lead Settlement Class Counsel are thus entrusted with internal fees

allocation, Rule 23(e)(2)(D) directs courts to consider whether the settlement’s mechanisms—

including fee structures—serve to treat “class members equitably relative to each other.” Rule

23(e)(2)(C)(iii) lists “the terms of any proposed award of attorney’s fees, including timing of

payment” for consideration as well. The Advisory Committee Notes to these sections advise

examination of attorney fee provisions for fairness and proportionality. Here, as to timing, fee

distribution would take place upon settlement finality. As to proportionality, whether the fees are

proportional to what is actually delivered to the class, this is a non-reversionary settlement: the

entire net settlement fund will be distributed to class member claimants. In compliance with

contemporary practice, when the claims administration process is completed, Co-Lead Class

Counsel will file a final report and accounting to this Court.

            To break down the allocation of the requested fee, and articulate its Rule 23(e) rationale:

               •   We propose the following allocation of the requested 20% fee. From the $60

                   million (20% of $300 million), 7.5% of the entire settlement—7.5% of $300

                   million—or $22.5 million—is taken off the top as a common benefit assessment

                   under this Court’s prior Orders. The Fee Panel would allocate this amount, with

                   the process under Court supervision.

               •   The fee remaining after the common benefit assessment would be $37.5 million.

               •   Of that $37.5 million amount, 40%, or $15 million, would be allocated to counsel

                   with existing private TPP fee agreements. This 60/40 allocation is similar to the

                   fee allocation model used in the previous national Opioids settlements with which

                   this Court is familiar, and serves a similar function: it enables the substantial

                   percentage of TPP class members represented by individual counsel to participate


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                   in the settlement, free of the concerns that due to their contingent fee agreements

                   they will net less than unrepresented class members, or their counsel will go

                   uncompensated. This approach was key to ensuring sufficient participation to

                   enable the success of these “Global” settlements, and is just as important here.

               •   The remaining $25.5 million would be allocated by Co-Lead Settlement Class

                   Counsel not only to class counsel, but to counsel doing work for actively litigating

                   TPPs, such as TPP bellwether counsel and those working on the TPP bellwether

                   briefing, case management and discovery projects, on settlement, and on settlement

                   implementation and administration. Any challenge to this allocation would be

                   resolved by the Special Master.

            The allocation of 40% of the $37.5 million net settlement fund is important to address

precisely the issues noted by the Advisory Committee. It is a hallmark of opioids litigation that,

unlike in some class actions, a significant portion of the TPPs included as class members in this

settlement are individually represented for purposes of litigation and/or claims assistance. The

goal of the allocation outlined above is to maximize participation by treating both individually

represented and unrepresented class members equitably, relative to each other, by enabling them

all to receive the same percentage recovery of their allocations under Dr. Rosenthal’s

methodology, by utilizing the requested $60 million class award as essentially a fund for all class

members’ fees.

            After preliminary approval and near the close of the extended opt-out period, an agreement

negotiated through the settlement mediator was reached, taking a cue from the success of the

Global settlements, and based on a similar level of individual representation of TPPs, that provides

for the above-described allocation of 40% of the court-awarded fee, net of the common benefit


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assessment, to be paid to counsel in recognition of these individual fee agreements, such that all

class members would be able to receive the same net percentage recoveries on their claims,

regardless of individual representation.

            The proposed allocation to address individual TPP counsel contingent fees is thus intended

to address and satisfy the Rule 23(e)(2)(D) factor that the settlement “treats class members

equitably relative to each other” by ensuring that individually represented class members are not

double-billed.

            As with the 60/40 fee fund split in the Global settlements, this was negotiated with counsel

who claim to represent the vast majority of individually represented TPPs, but it isn’t exclusive.

As in the Global, it is an alternative to charging the client, and it does not fully pay all contingent

fees (because of the deduction of the common benefit assessment off the top). It is also simpler

(for example, there are no “backstops”). As to the Common Benefit allocation and the “class” fee

fund, which each provide compensation for TPP-related common benefit work, we expect actively

litigating counsel, such as class counsel, TPP settlement counsel, and TPP bellwether counsel, to

be paid first from the “class” portion of the fee. In terms of the Co-Lead Settlement Class

Counsel’s allocation to specific counsel, the guardrail in that process is an internal appeal to the

Special Master. As this Court is well aware, the common benefit allocation process also ensures

recognition of common benefit work, which would now include TPP common benefit work and

contributions, while guarding against “double-dipping.”

            In addition to the above fees and allocation requests, we respectfully request $750,000 in

costs, as described in our submissions to the Court; and $10,000 in service awards to each of the

eight settlement class representatives, which are in line with recent service awards in this circuit.

See East Palestine, 2024 WL 4370003 at *14.


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III.        CONCLUSION

            We respectfully request the Court’s approval of the foregoing fees and costs award and

allocation proposals.

 Dated: January 13, 2025                         Respectfully submitted,
                                                 /s/ Elizabeth J. Cabraser
                                                 Elizabeth J. Cabraser
                                                 Eric B. Fastiff
                                                 LIEFF CABRASER HEIMANN &
                                                 BERNSTEIN LLP
                                                 275 Battery Street, 29th Floor
                                                 San Francisco, CA 94111-3339
                                                 Telephone: (415) 956-1000
                                                 ecabraser@lchb.com
                                                 efastiff@lchb.com
                                                 Interim Settlement Class Counsel; Counsel for
                                                 Pioneer Telephone Cooperative, Inc. Employee
                                                 Benefits Plan, and American Federation of
                                                 State, County and Municipal Employees District
                                                 Council 37 Health & Security Plan
                                                 /s/ Paul J. Geller
                                                 Paul J. Geller
                                                 Mark J. Dearman
                                                 ROBBINS GELLER RUDMAN & DOWD
                                                 LLP
                                                 225 NE Mizner Boulevard, Suite 720
                                                 Boca Raton, FL 33432
                                                 Telephone: (561) 750 3000
                                                 pgeller@rgrdlaw.com
                                                 mdearman@rgrdlaw.com
                                                 Interim Settlement Class Counsel; Counsel for
                                                 Cleveland Bakers and Teamsters Health and
                                                 Welfare Fund, and Pipe Fitters Local Union
                                                 No. 120 Insurance Fund
                                                 /s/ James R. Dugan, II
                                                 James R. Dugan, II
                                                 THE DUGAN LAW FIRM, PC
                                                 One Canal Place, Suite 1000
                                                 New Orleans, LA 70130
                                                 Interim Settlement Class Counsel; Third Party
                                                 Payor PEC Representative; Counsel for United
                                                 Food and Commercial Workers Health and
                                                 Welfare Fund of Northeastern Pennsylvania,
                                                 and Sheet Metal Workers Local No. 25 Health
                                                 and Welfare Fund
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                                                     Jayne Conroy
                                                     SIMMONS HANLY CONROY
                                                     112 Madison Avenue, 7th Floor
                                                     New York, NY 10016
                                                     Telephone: (212) 784-6400
                                                     jconroy@simmonsfirm.com
                                                     Joseph F. Rice
                                                     MOTLEY RICE
                                                     28 Bridgeside Blvd.
                                                     Mt. Pleasant, SC 29464
                                                     Telephone: (843) 216-9000
                                                     jrice@motleyrice.com
                                                     Paul T. Farrell, Jr., Esq.
                                                     FARRELL & FULLER LLC
                                                     270 Munoz Rivera Ave., Suite 201
                                                     San Juan, PR 00918
                                                     Telephone: (304) 654-8281
                                                     paul@farrelfuller.com
                                                     Plaintiffs’ Co-Lead Counsel
                                                     /s/ Peter Weinberger
                                                     Peter H. Weinberger (0022076)
                                                     SPANGENBERG SHIBLEY & LIBER
                                                     1001 Lakeside Ave. East, Suite 1700
                                                     Cleveland, OH 44114
                                                     Telephone: (216) 696-3232
                                                     pweinberger@spanglaw.com
                                                     Plaintiffs’ Liaison Counsel




                                     CERTIFICATE OF SERVICE

            I hereby certify that, on January 13, 2025, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of record by

and may be obtained through, the Court’s CM/ECF system.

                                                          /s/ Elizabeth Cabraser
                                                          Elizabeth Cabraser




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